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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  LUCAS CALIXTO, et al.,

                           Plaintiffs,

                   v.                                Civil Action No. 18-1551 (ESH)

  UNITED STATES DEPARTMENT OF
  THE ARMY, et al.,

                          Defendants.



                                             ORDER

       Following the Court’s August 13, 2018 conference call, it is hereby

       ORDERED that briefing regarding plaintiffs’ motion for a preliminary injunction and

provisional class certification (ECF No. 20), and plaintiffs’ motion for class certification and

appointment of class counsel (ECF No. 21) is STAYED; it is further

       ORDERED that defendants shall file, on or before August 20, 2018 at 12 p.m., a report

regarding:

       1) The status of the Army’s policy relating to administrative separation procedures

             applicable to members of the Delayed Entry Program (DEP) and Delayed Training

             Program (DTP), including but not limited to any updates that resulted from Marshall

             Williams’ July 20, 2018 memorandum (ECF No. 22-1 at Ex. A),

       2) The number of MAVNIs who received a discharge order from the U.S. Army

             Recruiting Command (USAREC) and/or U.S. Army Reserve Command (USARC)

             and whose discharge order(s) have been revoked and/or whose involuntary separation

             is under review as a result of the July 20, 2018 memorandum, and
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       3) The Army’s timeline for implementation of any new policy, as well as the expected

           time when discharge or involuntary separation proceedings will be initiated against

           any DEP or DTP member in accordance with this policy; it is further

       ORDERED that defendants shall file status reports with the Court bi-weekly after this

August 20, 2018 report, with any updates regarding the Army’s policy with respect to

administrative separation procedures applicable to DEP and DTP members, as well as any

intention to discharge any DEP or DTP member in accordance with this policy; it is further

       ORDERED that defendants shall file under seal, on or before September 4, 2018 at 12

p.m., a list of every person who has received a discharge order from the U.S. Army Recruiting

Command (USAREC) and/or U.S. Army Reserve Command (USARC) that was effective within

the year prior to the July 20, 2018 memorandum (July 20, 2017 through July 20, 2018) who were

DTP or DEP MAVNI members and whose discharge order(s) are not expected to be revoked.

This report shall specify whether each person’s discharge was due to an unfavorable MSSD

determination or some other reason, and if some other reason, what that reason was; it is further

       ORDERED that defendants shall file with this Court a description of any Army policy

relating to the administrative separation procedures applicable to members of the Delayed Entry

Program (DEP) and Delayed Training Program (DTP) at least 14 days prior to any discharge

order or separation proceeding initiated in accordance with this policy.



                                                     _______________________
                                                     ELLEN S. HUVELLE
                                                     United States District Judge
Date: August 13, 2018




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